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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

                Plaintiffs,
                                                              CASE NO. 1:20-cv-1141
 v.
                                                              HON. ROBERT J. JONKER
 GRETCHEN WHITMER, et al.,

             Defendants.
 __________________________________/

                                              ORDER

        On July 5, 2024, the Court set plaintiffs’ Motion for Summary Judgment for hearing on

 July 31, 2024. On July 18, 2024, defendants filed a Notice of Interlocutory Appeal of this Court’s

 Opinion and Order denying their Motion to Dismiss.

        The Court will CANCEL the July 31 oral argument date. The parties shall file a joint

 status report not later than August 23, 2024, setting forth what, if anything, they believe can

 appropriately be decided in this case pending resolution of the interlocutory appeal.

        IT IS SO ORDERED.




 Dated: July 23, 2024                         /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              UNITED STATES DISTRICT JUDGE
